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1    DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
2    BENJAMIN D. GALLOWAY, Bar# 214897
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700

5    Attorney for Defendant
     DELMAR LAGRIMAS
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7
8                         IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,    )
12                                )      Cr.S. 09-206-GEB
                  Plaintiff,      )
13                                )      STIPULATION AND ORDER
             v.                   )
14                                )      DATE: October 9, 2009
     DELMAR LAGRIMAS,             )      TIME: 9:00 a.m.
15   LEOBARDO OLAZABAL CARRANZA, )       JUDGE: Hon. Garland E. Burrell Jr.
                                  )
16                Defendants.     )
                                  )
17   ____________________________
18
        It is hereby stipulated and agreed to between the United States of
19
     America through DANIEL MCCONKIE, Assistant U.S. Attorney, and
20
     defendants, DELMAR LAGRIMAS by and through his counsel, BENJAMIN
21
     GALLOWAY, Assistant Federal Defender, and LEOBARDO OLAZABAL CARRANZA by
22
     and through his counsel, GILBERT A. ROQUE, that the status conference
23
     set for Friday, September 11, 2009 be continued to Friday, October 9,
24
     2009 at 9:00 a.m..
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        The reason for this continuance is to allow defense counsel
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     additional time to review discovery with the defendants, to examine
27
     possible defenses and to continue investigating the facts of the case.
28
           Case 2:09-cr-00206-GEB Document 19 Filed 09/09/09 Page 2 of 3


1       It is further stipulated that the time period from the date of this
2    stipulation and order, through and including the date of the new status
3    conference hearing, October 9, 2009, shall be excluded from computation
4    of time within which the trial of this matter must be commenced under
5    the Speedy Trial Act, pursuant to 18 U.S.C. §§ 3161
6    (h)(7)(A)(B)(iv)and Local Code T4 [reasonable time for defense counsel
7    to prepare].
8
9    DATED: September 3, 2009       Respectfully submitted,
10                                  DANIEL J. BRODERICK
                                    Federal Defender
11
                                    /s/ Benjamin Galloway
12                                  BENJAMIN GALLOWAY
                                    Assistant Federal Defender
13                                  Attorney for Defendant
                                    DELMAR LAGRIMAS
14
                                    /s/ Benjamin Galloway for
15                                  GILBERT A. ROQUE
                                    Attorney for Defendant
16                                  LEOBARDO OLAZABAL CARRANZA
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18
     DATED: September 3, 2009       LAWRENCE G. BROWN
19                                  United States Attorney
20                                  /s/ Benjamin Galloway for
                                    DANIEL MCCONKIE
21                                  Assistant U.S. Attorney
                                    Attorney for Plaintiff
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              Case 2:09-cr-00206-GEB Document 19 Filed 09/09/09 Page 3 of 3


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                                       O R D E R
2
        IT IS SO ORDERED.       Time is excluded from today’s date through and
3
     including October 9, 2009 in the interests of justice pursuant to 18
4
     U.S.C. §3161(h)(7)(A)(B)(iv) [reasonable time to prepare] and Local
5
     Code T4.
6
7    Dated:    September 6, 2009

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9                                        GARLAND E. BURRELL, JR.
                                         United States District Judge
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